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Allison Khaskelis

From:               reeoad@gmail.com
Sent:               Tuesday, 31 May 2022 3:38
To:                 Allison Khaskelis; Yisrael Hiller
Subject:            Re: Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572
Attachments:        Star Gel Invoices Produced on 05.27.2022.pdf


Allison,

It appears our email from 05/27 failed to go through, so attempting again now. Please confirm receipt.

In response to your document requests, we do not have any documents to produce at this time except for the attached
Star Gel® invoices that we were able to locate so far. If we gather additional documents in the coming days, we will
make sure to forward them as well.

We request that you send us complete records of our purchase history from your client, including purchases associated
with all of our predecessors (i.e., all invoices, deposited checks, accounting ledgers, etc.).

We remind you that we remain open to continued settlement negotiations if your client is interested in resolving this
dispute before proceeding to full trial.




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                                                                   TABLE OF INVOICES RECEIVED FROM PLAINTIFFS ON MAY 31, 2022
                             DATE                                        CUSTOMER                   CITY / STATE           QUANTITY   SALE PRICE/UNIT (in USD) TOTAL AMOUNT (in USD)
                       January 1, 2013                                 Mill Basin Shuk             Brooklyn / NY               8               $9.50                    $76.00
                       January 2, 2013                                 Amalya Grocery              Flushing / NY               6               $9.50                    $57.00
                       January 6, 2013                             Jerusalem Mini Market          Cedarhurst / NY              12              $9.50                   $114.00
                       January 6, 2013                                Kosher Plaza Inc.            Brooklyn / NY               12              $9.50                   $114.00
                     February 2, 2013                                  Mill Basin Shuk             Brooklyn / NY               12              $9.50                   $114.00
                     February 2, 2013                                Makolet Yerushalim            Brooklyn / NY               12              $9.50                   $114.00
                     February 2, 2013                                       Holon                  Brooklyn / NY               12              $9.50                   $114.00
                     February 2, 2013                            Chalouh International Food        Brooklyn / NY               48              $9.50                   $456.00
                       March 14, 2013                                Food of All Nations             Miami / FL                24              $9.50                   $228.00
                       March 19, 2013                                Makolet Yerushalim            Brooklyn / NY               24              $9.50                   $228.00
                       March 19, 2013                                  Mill Basin Shuk             Brooklyn / NY               12              $9.50                   $114.00
                        April 13, 2013                                      Holon                  Brooklyn / NY               12              $9.50                   $114.00
                        April 14, 2013                                 Amalya Grocery              Flushing / NY               12              $9.50                   $114.00
                        April 28, 2013                                 Mill Basin Shuk             Brooklyn / NY               12              $9.50                   $114.00
                        April 28, 2013                           Chalouh International Food        Brooklyn / NY               12              $9.50                   $114.00
                        April 28, 2013                                  Milk & Honey             Staten Island / NY            12              $9.50                   $114.00
                         May 5, 2013                                  Avi Glatt Kosher             Brooklyn / NY               24              $9.50                   $228.00
                         May 5, 2013                           Amira Fresh Fruits & Vegetable      Fair Lawn / NJ              6               $9.50                    $57.00
                         May 8, 2013                                     Kosher Mart               Rockville / MD              12              $9.50                   $114.00
                        May 21, 2013                                   Mill Basin Shuk             Brooklyn / NY               12              $9.50                   $114.00
                        May 21, 2013                                        Holon                  Brooklyn / NY               12              $9.50                   $114.00
                        May 22, 2013                                 Food of All Nations             Miami / FL                12              $9.50                   $114.00
                         June 3, 2013                                Makolet Yerushalim            Brooklyn / NY               12              $9.50                   $114.00
                         July 21, 2013                           Tel Aviv Glatt Supermarket       Dania Beach / FL             24              $10.00                  $240.00
                         July 23, 2013                               Makolet Yerushalim            Brooklyn / NY               24              $10.00                  $240.00
                      August 20, 2013                                  Amalya Grocery              Flushing / NY               6               $10.00                   $60.00
                      August 25, 2013                                   Akiva Grocery              Brooklyn / NY               24              $10.00                  $240.00
                      August 25, 2013                              GSA King Tomato Farm            Brooklyn / NY               12              $10.00                  $120.00
                      August 26, 2013                                    Zion Market               Brooklyn / NY               12              $10.00                  $120.00
                      August 27, 2013                                       Holon                  Brooklyn / NY               12              $10.00                  $120.00
                   September 16, 2013                                 Kosher Plaza Inc.            Brooklyn / NY               12              $10.00                  $120.00
                   September 16, 2013                                  Amalya Grocery              Flushing / NY               6               $10.00                   $60.00
                      October 6, 2013                                Food of All Nations             Miami / FL                24              $10.00                  $240.00
                     October 13, 2013                                      ShopRite              Philadelphia / PA             24              $10.00                  $240.00
                     October 19, 2013                                Makolet Yerushalim            Brooklyn / NY               12              $10.00                  $120.00
                     October 19, 2013                               Produce Market 2000            Brooklyn / NY               12              $10.00                  $120.00
                    November 3, 2013                                   Avi Glatt Kosher            Brooklyn / NY               12              $10.00                  $120.00
                    November 4, 2013                             Chalouh International Food        Brooklyn / NY               12              $10.00                  $120.00
                    November 4, 2013                                        Holon                  Brooklyn / NY               12              $10.00                  $120.00
                    November 9, 2013                                  A to Z Import Inc.           Brooklyn / NY              120              $8.00                   $960.00
                    November 13, 2013                                  Amalya Grocery              Flushing / NY               12              $10.00                  $120.00
                    November 13, 2013                                Makolet Yerushalim            Brooklyn / NY               12              $10.00                  $120.00
                    December 2, 2013                               Jerusalem Mini Market          Cedarhurst / NY              24              $10.00                  $240.00
                    December 4, 2013                                 Makolet Yerushalim            Brooklyn / NY               12              $10.00                  $120.00
                    December 4, 2013                             Chalouh International Food        Brooklyn / NY               12              $10.00                  $120.00
                    December 8, 2013                             Chalouh International Food        Brooklyn / NY              120              $9.50                  $1,140.00
                    February 18, 2014                                  Amalya Grocery              Flushing / NY               4               $10.00                   $40.00
                    February 18, 2014                                  Mill Basin Shuk             Brooklyn / NY               12              $10.00                  $120.00
                    February 18, 2014                                Makolet Yerushalim            Brooklyn / NY               12              $10.00                  $120.00
                        March 2, 2014                                Food of All Nations             Miami / FL                12              $10.00                  $120.00
                       March 26, 2014                                  Amalya Grocery              Flushing / NY               3               $10.00                   $30.00
                       March 30, 2014                                       Holon                  Brooklyn / NY               12              $10.00                  $120.00
                       March 30, 2014                                Makolet Yerushalim            Brooklyn / NY               12              $10.00                  $120.00
                        April 23, 2014                             GSA King Tomato Farm            Brooklyn / NY               12              $10.00                  $120.00
                        April 23, 2014                               Makolet Yerushalim            Brooklyn / NY               12              $10.00                  $120.00
                        April 29, 2014                                  Milk & Honey             Staten Island / NY            12              $10.00                  $120.00
                        May 11, 2014                                   Avi Glatt Kosher            Brooklyn / NY               17              $10.00                  $170.00
                        May 12, 2014                                        Holon                  Brooklyn / NY               12              $10.00                  $120.00
                        June 10, 2014                                  Amalya Grocery              Flushing / NY               6               $10.00                   $60.00
                        June 17, 2014                               Produce Market 2000            Brooklyn / NY               12              $10.00                  $120.00
                        June 17, 2014                                       Holon                  Brooklyn / NY               12              $10.00                  $120.00
                        June 17, 2014                                Makolet Yerushalim            Brooklyn / NY               12              $10.00                  $120.00
                        June 22, 2014                                  Mill Basin Shuk             Brooklyn / NY               12              $10.00                  $120.00
                        June 22, 2014                                       Lazar's                  Tenafly / NJ               4              $10.00                   $40.00
                         July 14, 2014                                Kosher Plaza Inc.            Brooklyn / NY               12              $10.00                  $120.00
                         July 30, 2014                               Food of All Nations             Miami / FL               120              $8.00                   $960.00
                         July 31, 2014                                A to Z Import Inc.           Brooklyn / NY               60              $8.00                   $480.00
                      August 27, 2014                           E & G Family Distribution Inc.  Fort Lauderdale / FL           60              $10.00                  $600.00
                    September 2, 2014                                  Avi Glatt Kosher            Brooklyn / NY               12              $10.00                  $120.00
                    September 2, 2014                                   Akiva Grocery              Brooklyn / NY               11              $10.00                  $110.00
                    September 9, 2014                                    Zion Market               Brooklyn / NY               12              $10.00                  $120.00
                   September 24, 2014                            Chalouh International Food        Brooklyn / NY               24              $10.00                  $240.00
                      October 5, 2014                                King Tomato Farm              Brooklyn / NY               12              $10.00                  $120.00
                    November 17, 2014                                  Amalya Grocery              Flushing / NY                4              $10.00                   $40.00
                    December 3, 2014                                   Amalya Grocery              Flushing / NY                4              $10.00                   $40.00
                    December 28, 2014                                Makolet Yerushalim            Brooklyn / NY               24              $10.00                  $240.00
                    December 28, 2014                                Makolet Yerushalim            Brooklyn / NY                4              $10.00                   $40.00
                    December 28, 2014                               Produce Market 2000            Brooklyn / NY               12              $10.00                  $120.00
                      January 11, 2015                                 Amalya Grocery              Flushing / NY                6              $10.00                   $60.00
                      January 11, 2015                                 Avi Glatt Kosher            Brooklyn / NY               12              $10.00                  $120.00
                      January 11, 2015                             Jerusalem Mini Market          Cedarhurst / NY              12              $10.00                  $120.00
                      January 14, 2015                           Chalouh International Food        Brooklyn / NY               24              $10.00                  $240.00
                     February 8, 2015                                       Holon                  Brooklyn / NY               12              $10.00                  $120.00
                     February 17, 2015                               Makolet Yerushalim            Brooklyn / NY               24              $10.00                  $240.00
                        April 26, 2015                                      Holon                  Brooklyn / NY               12              $10.00                  $120.00
                        April 26, 2015                             Jerusalem Mini Market          Cedarhurst / NY              12              $10.00                  $120.00
                        April 26, 2015                           Chalouh International Food        Brooklyn / NY               24              $10.00                  $240.00
                        April 26, 2015                                 Amalya Grocery              Flushing / NY               12              $10.00                  $120.00
                         May 2, 2015                                   Avi Glatt Kosher            Brooklyn / NY               12              $10.00                  $120.00
                         May 2, 2015                                   Mill Basin Shuk             Brooklyn / NY               12              $10.00                  $120.00
                         May 6, 2015                                Produce Market 2000            Brooklyn / NY               12              $10.00                  $120.00
                        May 12, 2015                                   Amalya Grocery              Flushing / NY               2               $10.00                   $20.00
                        May 12, 2015                                  A to Z Import Inc.           Brooklyn / NY               60              $8.00                   $480.00
                         June 1, 2015                                  Mill Basin Shuk             Brooklyn / NY               24              $7.00                   $168.00
                        June 17, 2015                                Makolet Yerushalim            Brooklyn / NY               60              $10.00                  $600.00
                        June 17, 2015                                Makolet Yerushalim            Brooklyn / NY               12              $0.00                    $0.00
                        June 17, 2015                                Food of All Nations             Miami / FL                60              $10.00                  $600.00
                          July 7, 2015                                      Holon                  Brooklyn / NY               60              $8.00                   $480.00
                         July 14, 2015                                 Amalya Grocery              Flushing / NY               60              $8.00                   $480.00
                       August 5, 2015                                 Super Sal Market               Encino / CA               36              $10.00                  $360.00
                       August 9, 2015                            Chalouh International Food        Brooklyn / NY               60              $10.00                  $600.00
                       August 9, 2015                            Chalouh International Food        Brooklyn / NY               12              $0.00                    $0.00
                      August 20, 2015                                  Avi Glatt Kosher            Brooklyn / NY               12              $10.00                  $120.00
                      October 4, 2015                              Jerusalem Mini Market          Cedarhurst / NY              12              $10.00                  $120.00
                      October 4, 2015                                   Akiva Grocery              Brooklyn / NY               12              $10.00                  $120.00
                     October 13, 2015                                King Tomato Farm              Brooklyn / NY               6               $10.00                   $60.00
                     October 19, 2015                               Produce Market 2000            Brooklyn / NY               12              $10.00                  $120.00
              TOTAL QUANTITY OF UNITS SOLD                                                                                   2,131

                      TOTAL REVENUE                                                                                                                                 $19,812.00



  COSTS (assuming Plaintiffs paid $2.45 to Meshi per unit of
                         Star Gel)                                                                                         2,131              $2.45                 $5,220.95


             PROFIT (total revenue minus costs)                                                                                                                     $14,591.05

        TOTAL QUANTITY OF UNITS SOLD TO A TO Z                                                                              240


PERCENTAGE OF UNITS SOLD TO A TO Z OF TOTAL UNITS SOLD                                                                     11.26%
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